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  1    sheet.
  a
  ¿                MR. SAYLES: But we al-so have the case law guidance
  3    that the net worth is based on the balance sheet which               woul-d

  4    be the assets and the liability.
  5                THE COURT:       Yes, includj-ng cash, which may be
  6    minimal-.

  1                MR. SAYLES: YES.
  o                THE COURT:       But unless theyrre bankrupt, then there
  9    must be other assets which exceed liabilit.ies.            As far as I
 10    know   -- and you help me out here, I may be wrong --             does

 11    anybody know whether or not such information is reportable or
 72    is required to be reported on an LLCrs tax return?
 13                MR. SAYLES: As a matter of fact, it's          an LLP, Your
 14    Honor.

 15                THE COURT: LLP, same          difference, limited
 I6    partnership.
 1,7               MR. SAYLES: Itm not aware. I haventt personally
 t_B   seen the income tax returns for the corresponding years '                I
 19    have seen the accountant's report.
 20                THE COURT:       VüeIl, do they have or do they not have
 2I    audited balance sheets?
 22                MR. SAYLES: I do not bel-ieve they have audited.
 23    What I have been provided is a financial- sheet.            I don't
 24    bel-ieve they --
 25                THE COURT: What          is it and who prepared it?
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  1              MR. SAYLES: Pardon?

  2              THE COURT: What          is it and who prepared it?
  3              MR. SAYLES:       It was a report prepared by theÍr
  4   accountant, Markham and Associates which outlined their net
  5   worth for 201L. It identified assets, income, things Iike
  6   that, information and basically provides a picture of theír --
  1              THE COURT:       Irm sensitive to the issue of audited
  ö   because we know that many small businesses don't have audited
  9   financial-s.     This doesn't sound like an -- what is their
 10   annual revenue?
 11              MR. SAYLES:       I don't know that off the top of            my

 I2   head, Your Honor.
 13              THE COURT:       Did you do a -- is there a Dun         and

 L4   Bradstreet available for C&S, Mr.              Bromberg?

 15              MR. BROMBERG:           I haven't tried running a     D&B    on them,
 T6   Your Honor. There's a privateJ-y-held company.
 T1               THE COURT:      Irüell, that doesnrt mean anything. Thatrs
 1B   what DcB is for.      That's exactly what you use          D&B   for,
 I9   otherwise you go to the            SEC   and Iook up the case.
 20               MR. BROMBERG: Good            point.   I haventt tried running         a

 2L   D&B   on them.
 22               MR. SAYLES:      Your Honor, I would suggest as an
 23   initial    process, start with the information that was ordered
 24   in Godson and I believe it's              adequate. I believe it's
 25   comprehensive.
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  1                THE COURT:       Well, that requires you to file              to
  2    serve audited bal-ance sheets.
  3                MR. SAYLES: Well, I guess under that caveat --
  4                 THE COURT: And             you're now on the record as saying
  5    just order what       Godson       --
  6                 MR. SAYLES: Vüel-lr ror Your Honor. I understand
  1    Godson     to require t.hat information, but I think the audit
       aspect was incidental.
  9                 THE COURT:       VüelI, You talked t.o Judge Schroeder abouL
 10    that   ?


 11                 MR. SAYLES:       I didn't.
 I2                 THE COURT:       VüeII, if you know Judge Schroeder,          he

 t_3   doesn't order i-ncidental information.
 14                 MR. SAYLES: VleII, I don't mean his statement was
 15    incidental.        irühat was presenLed         to him were financials that
 16    happened     to be audited.
 I1                 THE   COURT:     No, I don't think anything        was   presented

 1_B   to him. I think that is what was at issue. He was asked to
 19    allow for production.              tl'lhere   is that decision? Oh, I see your
 20    point.      The defendant agreed to reproduce a copy -- agreed to
 21    produce a company of its audited balance sheets subject to                      a

 22    protective order.           Vühy   was there a motj-on in front of him?
 23    Oh, I see, because the plaintiff                 wanted more' apparently

 24                 MR. SAYLES: Your Honor, incidentally,              I don't    have

 25    the specific case/ but the documents I'm speaking about                    have
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  1    been accepLed ín the Eastern District           of    New   York case sub¡ect
  2    to a confidentì-al-ity order on behalf of Cohen and Slamowitz                   as

  3    t.o their net worth.         I dontt have that matter before me, but I
  4    can't tell you they have been submitted in other J-itigations.
  tr
  J               THE COURT:        So, youtre      what you mean      by so         sor

  6    this puts   some meat       on the bones here about the incidental
  1    aspect of Judge -- what yourre really saying is that he didn't
       reach the merits of the question of whether audíted                 was

  9    required because of the defendant's Proffer?
10                MR.    SAYLES:     They haven I t -- theY were already in

11     existence. It wasnrt the issue of whether they had to
 1_2               THE COURT:       AII right.    VlelI, thatrs     good   enough. I
 13    think so. So, what authoríty          do   you have that theY have to           be

 74    audited under the      FDCPA?

 15                MR.   BROMBERG   : WeIl, it    wouJ-d j   ust be -- wel-I, the
 I6    leading case on the entire issue ís the ?th Circuit case of
 L1    Sanders    v. Jackson which says that net worth is book value net
 1B    worth --
 1,9               THE COURT:       Not market vafue
 20                MR. BROMBERG:       -- Not market value. Now, the
 21    question is what is the book value.
 22                THE COURT:       That's excluding good wilI.
 2-5               MR.   BROMBERG:     Well, actuallY' thatrs a frequent
 24    mísreadíng of Sanders v. Jackson.
 25                THE   COURT: !üell, I don't know. I rve read it               a
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  1    couple times.         I couldn't    see   any \^¡ay around it.
  2                  MR. BROMBERG:       Now,    there's   some   loose language in
  3    there and this is ent.irely aside
  4                  THE COURT:    I know, I know. Go ahead. Make your
  5    point.    VrIe   have to move on
  6                  MR.   BROMBERG:     Okay, okay. My point though is there,
  1    they actually had books and I don't think theY indi-cated one
  B    way   or another whether they were audited. I'd                  have   to go   back

  9    and   fook.      Ird have to go back and double check. I havenrt
 10    read Sanders        v. Jackson in a couple months, but the
 11    question -- there is a key question here if all we're gettíng
 T2    is something coming from their accountant, that is, by its
 13    nature, something that's not -- that hasn't been examined by                          a

 1,4   thírd party.
 15                  IL's been examined by a party thatts been hired               by

 T6    and works frequentJ-y with the defendant and there's no clarity
 I1    on what' s actual-Iy there.          Unfess \n/er ourselves, can examine

 1B    the underlying        documents,    we have no way       of relying on what's
 19    been presented to us by their               own   accountants.
 20                  THE COURT: VfhAt.      CASE    says that you're entitl-ed to
 2I    more than what Judge Schroeder provided?
 22                  MR. BROMBERG: Well, Judge Schroeder                said audited.
 23                  THE COURT:        WelIr ño. I mean, you're saying that if
 24    they   \4¡ere   audited, then you wouldntt have made all these
 25    document requests and interrogatory demands?
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  1              MR. BROMBERG:       If they r¡/ere audited'        \^rerd   be hard-
  2   pressed to go far beyond maybe asking for sâY, three years of
  3   tax returns with schedules. I think if they produced audited
  4   tax returns, it makes it very difficult                to argue against the
  5   book vaÌue net worth as represented in the audited tax
  6   returns.    I had this      come up on       a case recently where the
  1   defendants produced audit.ed returns and we basicall-y decided
  B   we werenrt going     to fiqht what          was   on the audited reLurns.
  9   Yourre not going to -- you           know

 10              THE COURT:       VüeII, You can see from the Court's point
 11   of view that we, you know -- your discovery requests                     do

 T2   challenge the notion of creating satellite                 litigation     in which
 13   you're attempting to second guess, fot                exampJ-e,   the tax
 I4   returns, which was the issues in the Malo (phonetic), case in
 15   the EasLern Dist.ricL.
 T6              MR. SAYLES: Your Honor,                if I may add, in     Godson,

 I1   Judge Schroeder cites to MiIIer vs. Abrams, Eastern District
 1B   of   New York case    rejecting discovery           demands   effectively
 I9   seeking to audit defendant's tax returns.                  What   Mr.   Bromberg

 20   just explaíned, he's effectively seeking to perform his                       ohln

 2I   audit of their returns.            So, ',n/e've got an Eastern District
 22   case cited by --
 23              THE COURT:       WeIl, thatrs it.           There's more than       an

 24   echo of concern among judicial              officers who have confronted
 25   the issue about opening the door into collateral J-itigation
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  1    less than 50,000 to photocopy the documents t,hat werve                             asked

  2    for, turn them overf            r^Ie   go to our account and have them l-ook
  3    at     them.

  4                   THE COURT:       Point     made.

  5                   MR. SAYLES:       But those are                 there's a breadth of
  6    information that there's                some   entitlement, of confidentiality
  '7
       and privacy because especially where the defendants are sued
       E^-^
  8    IUI


  9                   THE COURT:       No, that's -- nor ûor no.                 Vüe   have    a

 10    confidential agreement. It's not an issue.
 11                   MR. SAYLES: But.          the case law that exists does not
 T2    require more than production of the returns.                            I know Godson
 13    didn't have happen to involve                  a   (   sic) audited fínancial, but
 74    it wasn't the threshold.                 Nothing 1n that decision suggests

 15    that the audited nature of those financial                        s


 16    (An off-the-record discussion was held.)

 t1                   THE COURT: One           of the cases is cited by             Judge

 1B    Schroeder, I forget which, I think itrs MaIo, it refers to
 I9    financiaf documents. It doesn'L actually say what                               Judge

 20    Schroeder says it says about tax returns.                             Oh, it says    and

 2I    financial report.           Excuse me, he did get it right.                      Yes,       he

 22    did.      Of course he did.             So, we don't know though, ín that
 23    case, whether those documents \,{ere audited or not'
 24                   MR. BROMBERG: Actually,                  it was my case, Your Honor.
 25                   THE COURT:       That's right.             It   was.     I remember that.
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  1              MR. BROMBERG:        It was Arrow Financial.
  2              THE COURT: Remember        I said I saw that? Itrs the
  3   same   guy. Hers all over the        pJ-ace.

  4              MR. BROMBERG:        Itrs the Arrow case. It        was

  5   Magistrate Levy, Eastern District.             Tt was a pretty major-
  6   sized firm.    I can't   remember whether       the financials       were

  1   audited or not.     It was Arrow Financial which is one of the
  B   Iargest debt colfectors in the country, which has since                    been

  9   acquired by Sal-lie Mae or Fanny Mae, Sallie Mae, ríght and                         now

 10   they're worth even    more.

 11              THE COURT:    Yeah. We've got to move on. Here is                        my

 I2   ruling for the day:      We     are going to abide by       Judge

 13   Schroeder's ruling.      !r7e   are going to grant the          I'm going to
 14   cafl it the net worth discovered request.             lVe   are going to
 15   grant the requests, including the associated document requests
 I6   by directing the defendant C&S, not Midland, C&S, to provide
 L7   audited financial statements for the relevant years for the
 18   relevant period. Are you sure about this now' Mr.                         for
 19   purposes of discovery, Mr. Bromberg, one year only?
 20              MR. BROMBERG: VüeIl,       the problem is that the case law
 27   is not clear on whether you determj-ne the net worth                 as

 22              THE COURT:    WilI I be cJ-early erroneous if I required
 23   them to provide for a year prior to the rel-evant year and                      a

 24   year subsequent thereto, which would conclude               2013?

 25              MR. BROMBERG:        That's fine.
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  1               MR. SAYLES: The          cost in that could be upwards of               150

  2    to $200,000 if you're including three years.
  3               THE COURT: VüeJ-J-, you          don't know that   .



  4               MR. SAYLES: Well-, we            don't know that at all at. this
  5    point.
  6               THE COURT: And           it might be substantial-ly less.           I
  1    mean, the \^/ay -- I'm not pointing the finger at anybody,
  B    Mr. Sayles, but in a way, the Court's being asked to try to
  9    nail jeJ-ly to the wall and it's             just not fair and f've got to
 10    put   some burden on   the defendant here because in effect yourre
 11_   saying, you know, look, you know, take it or leave it,                   you

 I2    know? Whatever we give your thatts it.                Yourre not, entitl-ed
 13    to
 I4               MR. SAYLES: I'm not saying that
 15               THE COURT: Itm not             telling    Irm not permitting
 I6    them to do the auditing that you t re resisti-ng.                 I'm giving       you

 r'7   the chance to do your        ohln    auditing by directing that        you

 1B    provide audited financiaf statements and tax returns'
 19    corporate partnership tax returns for the -- what is the Year
 20    before again? Itve got to get this right.
 2I               MR.   BROMBERG:      2011 to 2012, Your Honor ís the range
 22    of the class thatrs     been served.

 23               THE COURT: And           the      for purposes of discovery,
 24    2010 to 20It on the back side and on the front side, 2012 to
 25    2013. Irm assuming their fiscal year is the cal-endar year.
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       1                 MR. SAYLES:       Your Honor, i-f that's the order, is
   2        there a possibitity
   3                     THE COURT:       Just a second. Let      me   finish.    So,   we' re

       4    goíng to order audited financials for those cafendar years
       5    2010   to 20II, 20II-20I2, 20I2-20L3 and we're going to require
       6    those to be financial -- excuse me, bafance sheets,                  income

       '7
            sLaLements, profit        and Ioss statements, cash flow statements
            and current trial        balance for the defendant's current fiscal
       9    year. That woufd be the first               quarter of   2014   .



 10                      MR. SAYLES: If I may, Your Honor, is there an out
 11         given that ruling or that instruction,               is Lhere an option that
 I2         would give Cohen and Slamowitz the option to produce the
 13         documents to plaintiff          in lieu of its incurring that
 I4         expens 1ve
 Itr
 IJ                      THE    COURT: The requested documents?
 I6                      MÞ     SAYLES: Because I don't want to speak -- I don't
 I1         know. Itr     s    a substantial      sum   that's been imposed on    them.

 1B                      THE    COURT: Wel-l-, I mean --
 19                      MR.    SAYLES: And Your Honor, I donrt --
 20                      THE    COURT: You know what my reaction to that is,
 2I         Mr. Sayles?         In your -- you've been practicing long enough             and

 22         Irm sure     Mr. Leghorn and         the other lawyers are, this
 23         information is probabty the information that a competent, in-
 24         house accountant or outside accountant wou]d have at his or
 25         her fingertips if they were charged with the responsibiJ-ity of
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  1    preparing a competently-prepared balance sheet                        onJ-y'

  2                MR. SAYLES:       This doesn't have to be audited by                    an

  3    independent third party?
  4                 THE COURT: You         figure it out.           Irm using the       word
  q
       audited as commonly referred to and if there's a h/ay to do it
  6    in and a     r^ray   that's satisfactory to the plaintiff,                 you work it
  't   out with them and that's it.                If there's an alternative              you

  B    want to explore
  9                 MR. SAYLES:      That's as to the cohen and slamowitz                       LLP

 10    only, correct?
 11                 THE COURT:      Yes. Okay? Did you get that,                      Sandra?

 I2    Thatrs it.       That disposes of a number of requests,
 13    Mr.    Bromberg?

 14                 MR. BROMBERG: Yes, many.

 15                 MR. SAYLES: Your Honor, was there a timeframe set on

 T6    that   ?


 I1                 THE COURT:      Not yet.            Timeframe          I want to get the
 1B    numbers down here         for the record.
 I9                 MR. BROMBERG: ThAt             COVETS      Request for Production           19

 20    through 49 with the excePtion of                  24    and 25.
 2T                 THE CLERK: VÍhat were               those, 19 through?
 22                 MR. BROMBERG: l-9 through                  49, but not 24 and       25.

 23                 THE COURT: And          interrogatories?
 24                 MR. BROMBERG:          Interrogatories,          no.

 25                 THE COURT:      Vüell,    Ye   s,    1'9   lo 24 interrogatories.
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                  MR. BROMBERG: Oh, excuse                me' Sorry, 19 to 24' frm
      sorry, Your Honor, you're right.
                  THE COURT: Thank            you. AII right.                 Anybody need   a

      break?
                  MR. SAYLES: And just if I may, I believe --
                  THE COURT:       Oh, the timeframe. Ninety days,
      Mr.   Bromberg?

                  MR. BROMBERG: That's            fine, Your Honor.
                  THE   COURT   : Ninet.Y      daYs   ,   Mr   .   SaYles    ?


                  MR. SAYLES:        I don't want to speak out of turn'                      I
      don't know what timeframe the accountant would require. I
      imagine at l-east the month of April through the next two weeks
      is shot for the accountant, but 90 days woul-d be time to at
      least inquire and urge that. Alt.hough, Judge, I believe the
      requests that      \^¡ere   presented here were documents that they
      relied upon in forming their net worth value that they
      reffected.
                  I mean, now       \n/etve   got three years. Cohen and
      Slamowitz have got audited f inancial-s for three years,
      including a year that's not even within the class that's                               been

      ce   rti fied here.
                  THE COURT: Vühy am           I saying that? Because I'm
      looking at it from a discovery point of view which is to test
      the       wel_lr you know, Mr. Bromberg,                     no\^I   that I think about
      it, maybe that's more than you really need, now that I think
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  1    about it on reffecLion.      If they're audited, why wouldnrt that
  2    one year be good enough?
  3               MR. BROMBERG:    WelI, the   onJ-y   issue really   becomes

  4    that --
  5               THE COURT:    I know Irm asking you a difficult
  6    quesLion despite your vast experience in this, but h'e're
  1    dealing in uncharted waters here.
  B               MR. BROMBERG: Okay       The problem is, it's       not clear
  9    from the case law what point you measure the net worth for
 10    purposes of the cap; whether ít's       the date of the violations
 11    or the date that the case actually goes to trial           '

 I2               THE COURT:     I was thinking more a matter of the trier
 13    of fact tryíng to figure out what the right number is and it
 I4    could be that an expert accountant would          saY,   Judge, you
 15    real-ly need   a   time frame within which to     make   a judgment   based

 16    on an opinion that somebody would gì-ve after looking at these
 r'7   things.
 tB               An opinion might be that it was just the one year'
 19    that's good enough, but an opinion from a forensic accountant
 20    might be, you knowf we needed to have the year prior and the
 27    year following in order to advise the trier of fact what. the
 22    correct number really is.       I mean, the fact that they claim it
 23    to be done with -- under general accounting principals, would
 24    that prevent you from challenginq that? I don't think so.
 25    It's going to be the trier of the fact will decide. So, just
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  1    as   b¡e   do in other discovery conLext' typically we ask for                   some

  2    timeframe in order to help us achieve some reasonable accuracy
  3    as to what the underlying fact really is.                    So, thaL's why I      am


  4    tempted to          intending to do what Irve just already said I
  tr
  J    think we should do
  6                  MR. BROMBERG:        No, I thínk that makes sense. I think
  1    thatrs         I hadn't thought of it that way. I was thinking
  B    more of a legal questíon of when you fixed that.
  9                  THE COURT: VúeIl,           itrs   a   discovery dispute.    f'm not
 10    attempting to fíx Iiabi-IitY here.
 11                  MR. BROMBERG: No,            I t.hink that    makes   sense that you

 I2    need one year before and one year after to make sure that what
 13    you're seeíng --
 T4                  THE COURT:         Vúhatever Lhe number       is for the relevant
 15    period is the correct            number.

 16                  MR.   BROMBERG:        Right.
 I1                  THE   COURT: That's my thínking, Mr. Sayles'                 If   you

 1B    want to      come   up with something else by some agreement with
 I9    Mr.   Bromberg      after the proceeding is over with, you go right
 20    ahead.

 2I                  MR.   SAYLES        tlüell, no more in any of the other           cases

 22    on this poínt have I seen any discussion of looking at years
 23    ín a bracket.         It   was    net worth for financial records for the
 24    g]-ven year.        I just         it's    been expJ-ained unduJ-y and I think
 25    itts overly prejudicial and burdensome to my cÌient.
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  1               THE COURT: Yeah,                 but it makes sense, does it?
  2               MR. SAYLES:          I respectfully disagree.
  3               THE COURT:          I mean, really, I mean, it's                  a question
  4    of fact as to what is the net worth during the relevant
  5    Limeframe and what -- your theory ís that they'lI                            never be         an

  6    accountant in the whoÌe worl-d who woufd ever say if they had
  1    an audited financial statement for a particular year by
  B    another accountant that that number, in their opinion, is the
  9    correct number and it that they would never need to see                                   a

 10    bracketed set of years before and after.
 11               MR.   SAYLES   :     Vüef   l,    we '   re not prepari-ng a general
 1,2   markeL value.      Wetre looking at a net worth for the year.                                 I
 13    mean, wê're not getting into mult.iple years and then you're
 I4    almost the value of the basis generally.                          You know, this is
 1tr
 t_J              THE COURT:          No, I'm talking about accuracy here.
 I6               MR.   SAYLES   : Wel-I, then I               don ' t   see what          the

 L1    letter here was issued in               2000

 1-B              THE   COURT:        VüelI, Iet's t.ry this.              Are you agreeabl-e
 I9    to doing the audíted statement for the one                         Year?

 20               MR.   SAYLES:        No, Itm not.
 2I               THE COURT:          Oh, okay then. Vüe're going to do it for
 .)a
 ¿L    three.
 23               MR.   SAYLES:        Your Honor, I just canrt                     it's     a big
 24    obligation to take        on    for my client.
 25               THE COURT:          If Irm wrong, Judge Skretny wiII correct
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  1    me on   your request. AII right.          Let's move on to the      nexL

  2    issue, Mr.     Bromberg.

  3                  MR. BROMBERG: Okay. The          next issue would be covered
  4    by Request for Production II,        1,2 and     15 to Cohen and
  5    Slamowitz.
  6                  THE COURT:   Okay. And I'Il        see those where, please?
  1                  MR. BROMBERG: Pullj-ng them up        right now' Your    Honor.

  B    That.'s page 40 of 52 and page 41- of 52.
  9                  THE COURT: What document, Please?

 10                  MR. BROMBERG: Oh,    sorry.       Itts Document 13-I.
 11                  THE COURT: Page   what again, Please?
 I2                  MR. BROMBERG: Page 40       of 52 and page 4I of 52.
 13                  THE COURT: V,Ihere   are   we?

 1,4                 MR. BROMBERG:   IL, 12 and 15'
 15                  THE COURT:   AII documents concerning pJ-aintiff's debt
 L6    to Midland vague, ambiguous, overbroad, notwithstanding
 I1    documenLs      are provided ; 12, all communications to and form
 1B    plaintiff's      atLorneys, agents acting on plaintiff's           behalf
 I9    response vague, ambiguous, overbroad, notwithstanding
 20    documents responsive are attached; 15, all documents without
 2I    limitation,      computer records related to plaintiff        retrievable
 22    under any number assigned to plaintiff             by defendant. Objects
 23    vague, et cetera, notwithstanding, they produced.
 24                  MR. BROMBERG:   Okay. ü/eJ-l, Your Honor, there are           a

 25    number   of documents that the defendants have produced, but
